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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )
                                              )
       vs.                                    )                 8:08CR318
                                              )
SHAWNTEL SCAIFE and                           )                  ORDER
DERMAINE DAVIS,                               )
                                              )
                     Defendants.              )


       For good cause shown,

     IT IS ORDERED that the Motion to Continue Trial (Doc. 86) filed by defendant,
Shawntel Scaife, is granted as follows:

     1. The jury trial now set for Tuesday, December 16, 2008 is continued to Tuesday,
January 6, 2009 as to all defendants.

        2. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between December 16, 2008 and January 6, 2009, shall
be deemed excludable time in any computation of time under the requirement of the
Speedy Trial Act due to counsel's scheduling conflicts because counsel require additional
time to adequately prepare the case, taking into consideration due diligence of counsel and
the novelty and complexity of this case. The failure to grant additional time might result in
a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B)(iv).

       DATED November 21, 2008.

                                          BY THE COURT:

                                          s/ F.A. Gossett
                                          United States Magistrate Judge
